









Dismissed and Memorandum Opinion filed December 18, 2003









Dismissed and Memorandum Opinion filed December 18,
2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01315-CR

____________

&nbsp;

VIHN B. PHAM, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
228th District Court

Harris County, Texas

Trial Court Cause No. 932,038

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

After a plea of guilty, appellant was convicted of the
offense of aggravated assault and sentenced to confinement for three years in
the Institutional Division of the Texas Department of Criminal Justice on April
22, 2003.&nbsp; No timely motion for new trial
was filed.&nbsp; Appellant=s notice of appeal was not filed
until October 22, 2003.








A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a motion for new
trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice of
appeal which complies with the requirements of Rule 26 is essential to vest the
court of appeals with jurisdiction.&nbsp; Slaton v. State, 981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
If an appeal is not timely perfected, a court of appeals does not obtain
jurisdiction to address the merits of the appeal.&nbsp; Under those circumstances it can take no
action other than to dismiss the appeal.&nbsp;
Id.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Memorandum
Opinion filed December 18, 2003.

Panel consists of Chief Justice
Hedges and Justices Anderson and Seymore.

Do Not Publish C Tex. R.
App. P. 47.2(b).

&nbsp;





